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 UNITED STATES BANKRUPTCY
 COURT DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

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 Attorneys for Talc Committee Claimaint
 Jan Deborah Michelson-Boyle

 In Re:
                                                      Case No. 21-30589 (MBK)
           LTL Management LLC,                        Chapter 11
                Debtor.                               Honorable Michael B. Kaplan, U.S.B.J., Chief




                                    NOTICE OF APPEARANCE

       Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the undersigned enters an

appearance in this case on behalf of Talc Committee Claimant Jan Deborah Michelson-Boyle. Request is

made that the documents filed in this case and identified below be served on the undersigned at this

address:

       ADDRESS:               Clayton L. Thompson, Esq.
                              Maune Raichle Hartley French & Mudd LLC
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       DOCUMENTS:

       X All notices entered pursuant to Fed. R. Bankr. P. 2002.

       X All documents and pleadings of any nature.

Date: March 30, 2022
                                                   /s/ Clayton L. Thompson
                                                       Signature
